
TUCKER, P-
This case presents essen*619tially the question decided in M’Farland v. Hunter, 8 Leigh 489. *In that case, it is true, the question raised by the bill of exceptions was not as to the admissibility of the interrogatories and of the answers to them, but as to their conclusiveness. This court however went into the question whether it was competent to the respondent to the interrogatories to introduce them, in invitum, as evidence in his favour. After two arguments, and taking twelve months to consider, a court of three decided unanimously in the negative. I have carefully reexamined the opinions in that case, and am fully satisfied with the decision. The result must therefore be a reversal of the judgment, and the award of a new trial, on which the answers of the defendant to the interrogatories filed in the cause are not to be read, unless introduced on the part of the plaintiffs.
PER CURIAM, Judgment reversed and new trial awarded.
